Case 1:19-cr-00411-ALC Document 74 Filed 10/16/20 Page 1 of 2

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UNITED STATES DISTRICT COURT DATE FILED: _/O- 46-20 __

SOUTHERN DISTRICT OF NEW YORK

 

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UNITED STATES OF AMERICA ORDER

- Vv. 7 19 Cr. 411 (ALC)
GUNJIT MALHOTRA

Defendant.
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WHEREAS, with the defendant’s consent, his guilty plea
allocution was made before a United States Magistrate Judge on
August 28, 2020;

WHEREAS, a transcript of the allocution was made and
thereafter was transmitted to the District Court; and

WHEREAS, upon review of that transcript, this Court has
determined that the defendant entered the guilty plea knowingly
and voluntarily and that there was a factual basis for the guilty

plea;

 
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IT IS HEREBY ORDERED that the defendant’s guilty plea is
accepted.

Dated: New York, New York
October \b, 2020

Chit, 7 Cy

HONORABLE ANDREW L. CARTER
UNITED STATES DISTRICT JUDGE
SOUTHERN DISTRICT OF NEW YORK ~

 
